         Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 1 of 47




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF FLORIDA
                            TALLAHASSEE DIVISION

S.P. 1
         Plaintiff,
v.                                                                   Civil Action No. 4:2021-CV-338

UNITED STATES OF AMERICA;
OFFICER JIMMY HIGHSMITH,
and NAKAMOTO GROUP, INC.

     Defendants.
_________________________/

                                             COMPLAINT

         Plaintiff, S.P., was sexually assaulted and battered while incarcerated at

Federal Correctional Institution Tallahassee (“FCI Tallahassee”). By and through

her attorneys, S.P. brings claims against Defendant Jimmy Highsmith based on the

Eighth Amendment to the United States Constitution pursuant to the legal standards

set forth in Bivens v. Six Unknown Named Agents of the Federal Bureau of

Narcotics, 403 U.S. 388, 91 S. Ct. 1999, 29 L. Ed. 2d 619 (1971), against Defendant

United States of America based upon the Federal Tort Claims Act (“FTCA”), 28

U.S.C. § 2671, et seq. , and against Defendant Nakamoto Group, Inc. based on

applicable principles of both contractual and tort law.


1
  These initials, and all initialized references to inmate victims of sexual assault at FCI Tallahassee, are
pseudonyms used to protect the subject’s identities for personal safety reasons. These individuals have
legitimate fears of retaliation from correctional officials and/or present or former inmates for making
public allegations regarding correctional officers.
      Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 2 of 47




      As a result of the repeated assaults visited upon her while she was an inmate

at FCI Tallahassee, S.P. suffered injuries, including: physical battery, sexual contact

and abuse, and the dignitary injury of being forced to endure sexual touching, which

was harmful and offensive in the extreme, and to which she did not consent, for

which she had neither the legal nor volitional capacity to consent, and from which

she had no lawful means of escape.

   For her complaint against Defendants, S.P. states as follows:

                                      PARTIES

      1.      Plaintiff, S.P., was at all times relevant to this complaint in the custody

of the Federal Bureau of Prison (“BOP”), including at Federal Correctional

Institution

Tallahassee (“FCI Tallahassee”), which is the prison facility located within the

Northern District of Florida where the sexual illegalities described herein occurred.

      2.      Defendant Jimmy Lee Highsmith (“Defendant Highsmith”) is a serial

sexual abuser of BOP inmates. At times relevant to this complaint he was employed

by the BOP as a Correctional Officer at FCI Tallahassee and was responsible for,

but not limited to, maintaining security and providing for the safekeeping, care, and

protection of inmates incarcerated there, including plaintiff, S.P.




                                            2
      Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 3 of 47




      3.     Defendant Officer Highsmith was, at all times relevant to this

complaint, acting under color of law and within the scope of his employment with

the United States BOP.

      4.     Defendant, United States of America, is a sovereign entity named

herein pursuant to the Federal Tort Claims Act and oversees the Federal Bureau of

Prisons, which is responsible for the custody and care of federal inmates.

      5.     Defendant United States of America has various agencies including but

not limited to the Office of Internal Affairs (“OIA”), the Office of Inspector General

(“OIG”), the U.S. Department of Justice (“DOJ”) and many other special agents and

supervisory attorneys who are responsible for the investigation and prosecution of

correctional officers sexually abusing inmates at federal institutions including FCI

Tallahassee. SIS, OIA, OIG and DOJ are collectively referred to herein as the

“Prison Investigative Agencies”.

      6.     Defendant Nakamoto Group, Inc. (“Defendant Nakamoto”) is a

Delaware Corporation with its principal place of business in the state of Maryland.

      7.     The BOP contracted with Defendant Nakamoto to carry out

inspections of FCI Tallahassee in accordance with the standards mandated by PREA.

Defendant Nakamoto was contractually obliged to carry out those inspections as part

of the auditing process required by PREA for the benefit of all inmates in the custody

of FCI Tallahassee.

                                          3
      Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 4 of 47




      8.     At all times relevant to this complaint, Defendant Nakamoto was the

auditor for inspecting, monitoring and oversight of BOP compliance with PREA

standards at FCI Tallahassee.

                         JURISDICTION AND VENUE

      9.     This Court has subject matter jurisdiction over this matter pursuant to

28 U.S.C. §§ 1331 & 1346 (b)(1), for claims are presented under the Federal Tort

Claims Act 28 U.S.C. 2671, et seq. and under the Eighth Amendment to the United

States Constitution, pursuant to Bivens v. Six Unknown Named Agents of Fed.

Bureau of Narcotics, 403 U.S. 388 (1971).

      10.    Plaintiff filed an Administrative Claim (Form 95) on July 16, 2020,

with the Federal Bureau of Prison’s South-East Regional Office, and the six-month

time period for a response or denial has passed. Consequently, her claim is now

deemed denied, she has exhausted all obligatory administrative remedies, and the

FTCA claim is legally ripened for presentation in this civil action.

      11.    Venue is appropriate in this Court pursuant to 28 U.S.C. § 1402(b), as

some or all of the events upon which this action is based occurred in the Northern

District of Florida.

                                      FACTS

      12.    At FCI Tallahassee, the BOP employs correctional officers, facilities

staff, and management to oversee and operate the prison facility. The correctional

                                          4
      Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 5 of 47




officers are trained, managed, overseen and paid by the BOP through the United

States Department of Justice serving “investigative or law enforcement” functions.

      13.    As a federal inmate, S.P. was committed to the Government’s care,

custody and control, and while in such custody, federal law specifically requires the

BOP to “provide for the safekeeping, care, and subsistence of all persons charged

with or convicted of offenses against the United States” and to “provide protection

… of all persons charged with or convicted of offenses against the United States.”

18 U.S.C. § 4042(a)(2)-(3).

      14.    As a federal inmate, S.P.’s options for escaping sexual battery or for

resisting the sexually abusive conduct of a guard were limited. S.P. – like all inmates

at FCI Tallahassee – relied on BOP employees and representatives to protect her

from sexual abuse by guards and staff.

      15.    As a condition of his employment, Defendant Highsmith was or should

have been required to attend and complete the BOP’s Correctional Training

Program, Phases I (an introductory two-week course) and II (a three-week long

course). He was or should also have been required to attend an additional week of

training specific to the supervision of female offenders. Moreover, annually, or

otherwise periodically, Officer Highsmith would have received refresher training

and continuing education on the prohibition against sexual abuse of inmates.



                                          5
      Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 6 of 47




      16.    The BOP’s policies are contained in documents called “program

statements” which set forth rules and procedures that all BOP employees are

required to follow.

      BOP Program Statement 3420.11 – Standards of Employee Conduct

      17.    Program Statement 3420.11 sets out the duties and responsibilities of

all BOP employees. It requires that employees, “[A]s soon as practicable (but no

later than 24 hours) report to their CEO (or other appropriate authority such as the

Office of Internal Affairs or the Office of the Inspector General) any violation,

appearance of a violation, or attempted violation of these Standards or of any law,

rule, or regulation. Every employee is required to immediately report to management

any act or omission by any person that could result in a breach of institution security.

Failure by employees to follow these regulations and policy or any other Bureau

policy or relevant regulation(s) could result in disciplinary action, up to and

including removal.”

      18.    Program Statement 3420.11 (Standards of Employee Conduct)

mandates that “[n]o employee shall engage in, or allow another person to engage in,

sexual behavior with an inmate. There is never any such thing as consensual sex

between staff and inmates.”

      19.    Program Statement 3420.11 states that BOP employees are subject to

administrative action, up to an including removal, for any inappropriate contact,

                                           6
      Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 7 of 47




sexual behavior, or relationship with inmates, regardless of whether such contact

constitutes a prosecutable crime. Physical contact is not required to subject an

employee to sanctions for misconduct of a sexual nature.

      20.    Program Statement 3420.11 goes on to state that “Title 18, U.S. Code

Chapter 109A provides penalties of up to life imprisonment for sexual abuse of

inmates where force is used or threatened. Sexual contact is defined as the intentional

touching of the genitalia, anus, groin, breast, inner thigh, or buttocks with the intent

to abuse, humiliate, harass, degrade, arouse, or gratify the sexual desire of any

person. All allegations of sexual abuse will be thoroughly investigated and, when

appropriate, referred to authorities for prosecution”.

      21.    Each new BOP employee, contractor, and volunteer must receive and

sign a form acknowledging receipt of Program Statement 3420.11.

      22.    As a condition of his employment, Defendant Highsmith did or should

have signed an acknowledgement that he received the updated version of Program

Statement 3420.11.

BOP Program Statement 5324.12 - Sexually Abusive Behavior Prevention and
                             Intervention

      23.    BOP Program Statement 5324.12 (Sexually Abusive Behavior

Prevention and Intervention Program) implements zero tolerance toward all forms




                                           7
      Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 8 of 47




of sexual activity, including sexual abuse and sexual harassment, and provides

guidelines to address prohibited and/or illegal sexually abusive behavior.

      24.    Program Statement 5324.12 is the controlling BOP policy addressing

the prevention of, and intervention upon, sexually abusive behavior. It is

disseminated agency-wide and applies to all facilities operated by the BOP and every

staff member working within each correctional facility.

      25.    Program Statement 5324.12 lays out duties and responsibilities with

respect to conduct for all BOP employees, and mandates particular staff and agency

reporting duties with respect to sexually abusive behavior, including concerning

incidents or possible incidents of sexual abuse or sexual harassment: it mandates that

“[a]ll staff must report information concerning incidents or possible incidents of

sexual abuse or sexual harassment to the Operations Lieutenant, or where

appropriate, in accordance with the Program Statement 3420.11.”

      26.    BOP policy requires the training of all employees who may have

contact with inmates on how to fulfill their responsibilities under agency sexual

abuse and sexual harassment prevention, detection, reporting, and response policies

and procedures.

      27.    Inmates, employees, and members of the public may file a complaint at

the BOP facility where an incident of sexual abuse occurred; through BOP’s Office



                                          8
      Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 9 of 47




of Internal Affairs; or with the Department of Justice Office of Inspector general

(OIG).

      28.   In accordance with the agency’s own Standards of Employee Conduct,

BOP employees must report any violation of those Standards, or any rule or law

within one business day of the incident to their Chief Executive Officer (CEO), OIA,

or the OIG. Decisions regarding disciplinary action in cases where the allegations

are sustained are managed by BOP’s Human Resources Management (HRM) and

BOP’s Office of General Counsel.

  Defendant Highsmith’s Employment History and Sexual Assault of T.D. in
                                2014

      29.   Defendant Highsmith was hired by the BOP in April 2007 at FCI-

Coleman, and later transferred to FCI-Tallahassee in May 2010.

      30.   Since as late as 2014, Defendant Highsmith was known to many of his

fellow officers, and administrators at FCI Tallahassee, including the Management

Team and Human Resources Management, as well as internal Prison Investigative

Agencies to be a sexual predator. Nevertheless, Defendant Highsmith was allowed

unrestricted and unsupervised access to female inmates, including Plaintiff S.P.

      31.   In 2014, the Office of Inspector General (OIG) received information

from BOP Special Investigative Agent (SIA) Dan Clark alleging that on April 30,




                                         9
     Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 10 of 47




2014, Defendant Highsmith sexually assaulted inmate T.D. inside the Officer’s

Station in C-Unit North of FCI Tallahassee.

      32.    This report by SIA Dan Clark triggered a joint investigation between

the OIG and the Federal Bureau of Investigation of the allegations involving

Defendant Highsmith. OIG investigators interviewed six staff members, thirteen

inmates (including the victim, T.D.), and Defendant Highsmith. OIG investigators

reviewed surveillance video and medical records of the victim. Additionally,

physical evidence, including articles of clothing belonging to the victim and a

washcloth used by her, fabric from the desk chair in the officer’s station used by

Defendant Highsmith, swabs from the same desk chair, the telephone cord in the

officer’s station, as well as a tampon, and vaginal and cervical swabs were collected

as part of the OIG investigation.

      33.    The OIG determined that a preponderance of the evidence

demonstrated that Defendant Highsmith likely sexually abused inmate T.D. and

another unnamed victim who had since been released from BOP custody and was

deported from the United States.

      34.    BOP Program Statement 3420.11 (Official Investigation) requires that

“…[d]uring the course of an official investigation, employees are to cooperate fully

by providing all pertinent information they may have. Full cooperation requires

truthfully responding to questions…”

                                         10
     Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 11 of 47




      35.     In its investigative report to Warden Jones, the OIG noted that

Defendant Highsmith’s denials of the incidents of sexual assault under investigation

were not credible and constituted false statements to the OIG. The OIG found that

Highsmith’s denials of the allegations were not credible because, among other

things, his denials were inconsistent with the testimony of eyewitnesses and with the

OIG’s review of video surveillance following the incident.

      36.     The OIG concluded that by failing to provide truthful information

during his interviews by OIG, Defendant Highsmith had further violated BOP

Program Statement 3420.11 provisions concerning employee conduct during official

investigations.

      37.     The Chief of BOP’s Office of Internal Affairs (OIA), forwarded the

OIG’s investigative report concerning the sexual assault of T.D. and a second

unnamed inmate by Defendant Highsmith to Warden Jones. The cover letter to the

OIG’s report indicated that, “[b]ased on the OIG’s findings,” misconduct in the

nature of an “Appearance of an Inappropriate Relationship” was “sustained” –

requiring the Warden to “proceed with disciplinary or adverse action, and notify this

[the Office of Internal Affairs] office of the action taken.”

      38.     The OIA’s letter, and the OIG’s investigative report on Highsmith

were also forwarded to H.J. Marberry, who was at that time the Regional Director

of BOP’s Southeast Regional Office.

                                           11
     Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 12 of 47




      39.     Warden Jones was aware that the allegation of sexual assault against

Defendant Highsmith was substantiated by the joint investigation of the OIG and the

FBI, but she did not seek to prevent Defendant Highsmith from having unsupervised

access to female inmates in future.

      40.     Instead, Warden Jones informed Defendant Highsmith that his

punishment would take the form of a 10 calendar-day suspension.

      41.     Wardens Coil and Jones, as well as SIS Proffitt and Officer Pulido,

were aware that Defendant Highsmith had raped an inmate, T.D., in 2014.

      42.     Warden Jones was aware that the OIG and the FBI had uncovered

substantial evidence that Defendant Highsmith had sexually assaulted T.D. in 2014

and that he lied to investigators about the sexual assaults when he was later

questioned.

      43.     Despite the clear evidence uncovered from these extensive

investigations, Warden Coil failed to take steps to prevent Defendant Highsmith

from having unsupervised access to Plaintiff S.P. and other female inmates to whom

he posed a clear risk of sexual abuse and sexual assault.

      44.     Officer Pulido was aware that the allegation of sexual assault against

Defendant Highsmith was substantiated by the joint investigation of the OIG and the

FBI and he and participated in the employee grievance process, acting on behalf of

Defendant Highsmith.

                                         12
     Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 13 of 47




      45.    Officer Pulido was aware that Defendant Highsmith had a history of

sexually abusing female inmates and was aware that Highsmith had raped inmate

T.D. in 2014 and then lied to OIG investigators concerning the sexual assault.

      46.    Officer Pulido failed to take appropriate steps to protect female inmates

including S.P., despite his awareness of the risk that Defendant Highsmith posed to

her and to all female inmates.

      47.    On January 30, 2017, T.D. filed a complaint in federal court (Case No.

17- CV-00059) against defendants U.S.A. and Defendant Highsmith, alleging, inter

alia that she had been sexually assaulted by Defendant Highsmith.

      48.    On January 11, 2018, Warden Jones’ deposition was taken in Case No.

17-CV-00059. 70. On February 22, 2018, Case No. 17-CV-00059 was settled for a

considerable monetary amount and subsequently dismissed on the same day.

      49.    Despite the BOP’s “zero-tolerance policy” with regard to sexually

abusive conduct by its employees, Defendant Highsmith continued to be employed

by the BOP for over two years.

      50.    The extent to which the BOP and administrators and rank-and-file

officers at FCI Tallahassee would go to shield and exonerate an officer of sexual

misconduct and the harm that comes to a woman who reports this conduct is well-

known both to the inmate population and to the guards employed at FCI Tallahassee.



                                         13
     Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 14 of 47




      51.    Administrators and guards at FCI Tallahassee follow a routine set of

practices in which even the most blatant sexual misconduct is tolerated and fostered

and in which female inmates are disparaged and retaliated against for resisting or

seeking protection from the misconduct.

Defendant Highsmith’s Sexual Harassment, Sexual Abuse, and Battery of S.P.
                                in 2018

      52.    At all times relevant to this complaint, Defendant Highsmith had

primary supervisory responsibility for the D-Unit – where S.P. was housed with

dozens of other inmates - during his regular shifts.

      53.    In June of 2018, Defendant Highsmith began a campaign of sexualized

harassment against S.P. This pattern of conduct involved, variously, Highsmith’s

paying an inordinate number of visits to S.P.’s living area, paying extra attention to

her, making sexual commentary in her presence and getting physically close to her

in the absence of any necessity for doing so.

      54.    This pattern of sexual harassment escalated to incidents of sexual

harassment and sexual abuse against S.P.

      55.     In June of 2018, while conducting his rounds inspecting D-Unit,

Defendant Highsmith demanded that S.P. lift the gown that she wore from the

shower area to her living area, telling her to expose her breasts and genitalia to him.

However, S.P. refused to expose herself to Defendant Highsmith.


                                          14
     Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 15 of 47




      56.    This incident caused S.P. to fear that she may eventually be sexually

assaulted by Defendant Highsmith, and she attempted to evade him by going to the

bathroom when he entered the housing unit or by pretending to sleep when he was

conducting rounds in the area where she was housed.

      57.    In the weeks following her refusal of his order to lift her gown, S.P.

awoke when she felt Defendant Highsmith rubbing her leg and asking her why she

was sleeping so much.

      58.    The D-Unit at FCI Tallahassee is an inmate living dormitory with an

adjoining office that is the permanent office of the guard assigned to oversee the D-

Unit. The door to that office opens directly into the D-Unit where inmates sleep in

their living quarters.

      59.    This adjoining office was apparently occupied on a permanent basis by

Officer Brown, as evidenced by the personal effects in the office, which included

photographs of his family and commendation plaques and various effects relating to

his history of military service and service to the Federal Bureau of Prisons. Officer

Brown worked in this office adjoining the D-Unit who worked there every day that

he was on shift during all times relevant to this complaint.

      60.     Immediately connected to Officer Brown’s office is an office referred

to as the “guard’s office”. Each “guard’s office” is used by guards on shift who share

supervisory responsibility for the housing unit while on shift. While the “guards’

                                          15
     Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 16 of 47




office” could be accessed by a corridor rather than through Officer Brown’s office,

access to that corridor was intermittent and was not always accessible to inmates,

depending on the time of day.

      61.    Defendant Highsmith routinely walked through Officer Brown’s office

to access the D-Unit housing area directly.

      62.    One evening, S.P. went to the guards’ office to request the television

remote for inmates in her immediate housing area from Defendant Highsmith.

      63.    Defendant Highsmith was on the phone when S.P. arrived at his office.

Defendant Highsmith asked S.P. what she wanted, and S.P. pantomimed using a

remote control to change channels so as not to interrupt his phone call.

      64.    Defendant Highsmith concluded his phone call and told S.P. to come

into his office and “grab it [the remote]”.

      65.    When S.P. entered Defendant Highsmith’s office, she could see that he

was sitting behind his desk with his penis in his hand and he told her to “grab this

[his penis] while you’re at it”.

      66.    S.P. turned around and left Defendant Highsmith’s office.

      67.    In the following days, S.P. was called to the guards’ office on the

loudspeaker by Defendant Highsmith.




                                          16
     Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 17 of 47




      68.      Deciding that she could later claim to have not heard the loudspeaker

command, S.P. did not go to the guards’ office because she feared that he would

attempt to sexually assault her if she did.

      69.      When S.P. did not come to the guards’ office when called over the

loudspeaker, Defendant Highsmith walked through Officer Brown’s office and

opened the door into D-Unit and ordered S.P. to come to his office.

      70.      Unable to disobey this direct order, which was delivered in person, S.P.

walked to through Officer Brown’s office to the office where Defendant Highsmith

was sitting.

      71.      This sequence of events occurred in plain view of Officer Brown, who

failed to intervene or prevent S.P. from going into the guards’ office alone with

Defendant Highsmith.

      72.      As S.P. stood at Defendant Highsmith’s office door, he told her that she

“must love the SHU,” because she had refused to come to his office when called on

the loudspeaker. Highsmith then ordered her to come inside his office, and S.P.

complied.

      73.      Defendant Highsmith physically pulled S.P. closer to him and said, “let

me see how tight that pussy is,” whereupon he immediately put his hand down her

pants and forcefully and repeatedly committed the sexual act of shoving his fingers

into her vagina.

                                           17
        Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 18 of 47




        74.    S.P. managed to escape Defendant Highsmith’s office and returned to

her housing area.

        75.    In the weeks following this incident, S.P. lived in fear that Defendant

Highsmith would escalate his sexual abusive conduct toward her and she attempted

to avoid him by continuing to pretend to sleep during times that he was on shift and

by going to the restroom when she thought he might be coming near her housing

unit.

        76.    On August 28, 2018, on a morning when she was scheduled to be

working in the kitchen, Defendant Highsmith approached S.P. as she was sleeping

in her bunk.

        77.    Defendant Highsmith informed her that she was “out-of-bounds,”

which is a technical disciplinary infraction used to describe the presence of an inmate

in an area where they are not scheduled to be or where their presence is prohibited.

        78.    Defendant Highsmith ordered S.P. to “come and see” him in his office.

        79.    S.P. did not go to Defendant Highsmith’s office for fear that he would

sexually assault her. Instead, S.P. went to the restroom to hide from Defendant

Highsmith.

        80.    BOP policy directs all Bureau of Prisons staff members to abide by core

principles when undertaking any disciplinary action against an inmate. Staff are



                                          18
         Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 19 of 47




required to “control inmate behavior in an impartial and consistent manner” and no

disciplinary action can be “capricious or retaliatory”.2

          81.     The BOP Program statement outlining inmate discipline procedures

organizes disciplinary infractions – “prohibited acts” on a four-level severity scale

ranging from Low Severity (“400” series infractions) through to Moderate (“300”

series infractions), High (“200” series infractions), and Greatest (“100” series

infractions) Severity Level Offenses. These levels are assigned a numerical value so

that they can be classified and so that they can be easily rendered into calculations

that, in the long term, may determine whether an inmate is eligible for early release,

what housing security level they will be assigned to within a facility, whether they

will lose credit earned for statutory good conduct time in being considered for

release, and whether they will be transferred to a higher-security facility within the

Bureau of Prisons system.

          82.     In the immediate term, these severity levels are used to calculate what

punishment an inmate may receive and whether the disciplinary issue is serious

enough to warrant a hearing on 10 days’ notice in front of a Disciplinary Hearing

Officer (DHO). BOP policy mandates that disciplinary hearings are overseen by

correctional officers who work at another correctional facility within the BOP and

they ostensibly serve as neutral arbiters who weigh the evidence of an inmate as


2
    Bureau of Prison Program Statement 5270.09. Inmate Discipline Program. Page.9.
                                                   19
     Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 20 of 47




against that of the staff member who filed the Report of a Disciplinary Infraction

against them in order to determine guilt and to impose an appropriate sanction if the

inmate is determined to be guilty of the allegation. The decisions of DHOs are

subject to appeal by the sanctioned inmate and appeals are directed to the Office of

General Counsel at the appropriate Regional Office.

      83.    On August 24, 2018, Defendant Highsmith issued a disciplinary write-

up for the “out-of-bounds” infraction citing a violation of inmate disciplinary code

(Code 316 – “Being in an Unauthorized Area”) which he noted as having occurred

at 8:30 a.m. This document was purportedly created at 1100 a.m. on the same day.

      84.    The incident report for this infraction was registered as having been

delivered by a Lieutenant to S.P. at 6:26 p.m. -the evening of August 24, 2018. The

Lieutenant, whose name cannot be deciphered other than by “Lt.” signed the form,

attesting to its delivery and the time of delivery of 6:26 p.m.

      85.    While S.P. was avoiding Defendant Highsmith in the restroom, an

inmate observed and later related to S.P. that Defendant Highsmith had entered her

sleeping area and confiscated a change of clothing that she had hung up there earlier.

      86.    S.P. then approached Defendant Highsmith and asked whether she

could have her clothes returned to which Highsmith replied “it depends”.




                                          20
     Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 21 of 47




      87.    S.P. interpreted Defendant Highsmith’s answer to convey that whether

she was disciplined would “depend” on whether she obeyed his earlier order to

“come see” him in his office.

      88.    S.P. did not want to go see Defendant Highsmith in his office because

she did not want to be further victimized by Defendant Highsmith’s sexual acts.

      89.    Consequently, S.P refused to go see Defendant Highsmith in his office.

      90.    S.P. used words to the effect that he had a lot of nerve threatening her

with a disciplinary infraction if she did not go to his office, since it was apparent to

her that he had a habit of sexually abusing inmates, including herself.

      91.    Distraught, S.P. also expressed words to the effect of “you [are] around

here fucking inmates, but I can’t have my clothes back?”

      92.    Defendant Highsmith told Officer Love to “take [S.P.] to SHU” and

Officer Love walked S.P. to the hallway area outside of the Lieutenants’ offices.

      93.    Defendant Highsmith drafted and signed a second disciplinary write-up

for this incident, citing S.P. for two offenses: the offense of “Insolence” (Code 312)

and for “Being unsanitary or untidy; failing to keep one’s person or quarters in

accordance with posted standards” (Code 330) which he noted as having occurred at

12:35 p.m. This disciplinary report was purportedly created by Defendant Highsmith

at 1:48 p.m. on the same day.



                                          21
     Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 22 of 47




      94.      In his narrative description in the incident report, Defendant Highsmith

wrote that S.P. had “become very upset” and that she had stated, among other things,

that he was “around here fucking inmates”.

      95.      This incident report was registered as having been delivered to S.P. by

a Lieutenant Lynch to S.P. at 3:30 p.m. – on the afternoon of August 24, 2018.

Lieutenant Lynch signed the form, attesting to its delivery and the time of delivery

of 3:30 p.m.

      96.      Defendant Highsmith’s report of the disciplinary infraction for being

“out-of-bounds” hours earlier was delivered to S.P. – and signed off on by a

Lieutenant indicating delivery and acknowledgment of the report of a disciplinary

infraction –after the disciplinary report alleging the two other disciplinary

infractions, one citing her for being untidy, and the other for accusing him of serial

sexual assault of inmates (“insolence”) had been signed off and delivered by a

Lieutenant.

      97.      Defendant Highsmith created the disciplinary report citing a violation

for being “out-of-bounds” (Code 316) and withheld it, later using it against her when

he learned that she would not comply with his order to “come see” him in his office

and instead made her vocal allegation against him.

      98.      None of these disciplinary infractions would be sufficient, in isolation,

to have an inmate sent to SHU for longer than a day. Two disciplinary infractions at

                                           22
     Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 23 of 47




the “300” level on a single day would not be sufficient to have an inmate placed in

SHU. However, three “300” level disciplinary infractions in a single day would be

enough to have an inmate immediately detained in SHU until a disciplinary hearing

could be coordinated with a neutral disciplinary hearing officer (DHO).

         99.   Defendant Highsmith set this coercive and retaliatory use of the inmate

discipline system in motion and other BOP staff, including Officer Love, Lieutenant

Lynch, and Lieutenant Rivera were aware that the reason that S.P. was being

disciplined was that she was not going to remain silent on the subject of Defendant

Highsmith’s widely-known practice of sexually assaulting inmates, nor was she

going to take orders from him that put her at risk of being sexually assaulted by him

again.

         100. S.P. was immediately placed in SHU and her alleged disciplinary

infractions were not referred to an outside DHO.

         101. On information and belief, Lieutenant Lynch did not treat the

information in Defendant Highsmith’s own disciplinary report, specifically the fact

that S.P. had shouted that Highsmith was sexually assaulting inmates, as a report of

a PREA violation. Nor did he treat this information as sufficiently serious to make

his own report, consistent with either the BOP’s Employee Code of Conduct, or the

BOP’s “zero-tolerance” policy with respect of sexually abusive behavior, as

mandated by PREA.

                                          23
     Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 24 of 47




      102. BOP policy provides that inmates are encouraged to report allegations

of sexually abusive behavior to staff at all levels, including local, regional and

Central Offices.

      103. BOP policy mandates that staff must report incidents of sexual abuse to

the Operations Lieutenant, who is required to immediately safeguard the inmate.

      104. In the Program Statement governing Sexually Abusive Behavior

Prevention and Intervention, Bureau staff are clearly informed that that may contact

any supervisory staff at the local institution, regional staff, or Central Office staff,

including the Regional PREA Coordinators and the National PREA Coordinator.

Allegations involving fellow staff members may also be reported to the Office of

Internal Affairs or the Office of Inspector General, as appropriate.

      105. BOP policy also mandates that the Operations Lieutenant also ensure

that the SIS, Chief of Correctional Services, Institution PREA Compliance Manager,

and Warden are notified of any incident of sexual abuse.

      106. On her arrival at the area outside of the Lieutenants’ offices before

being placed in SHU, S.P. was told by Lieutenant Lynch not to accuse officers of

being sexually abusive in the presence of Lieutenants, and Lieutenant Rivera also

warned S.P. not to talk about sexually abusive conduct at FCI Tallahassee.

      107. S.P. spent the following 7 days in SHU, essentially in a condition of

solitary confinement. S.P. was later informed, at a review of her disciplinary

                                          24
     Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 25 of 47




infractions performed by Officer Pulido, that she had lost her “privileges” for 60

days. She was not allowed to access to email to contact her family, she was not

allowed to have visitation with family members, she was denied access to items sold

in commissary, and she had all of her personal property impounded.

      108. At that review Officer Pulido informed S.P. that he could only recall

guarding 10 inmates in the course of his career that he did not regard to be “human

beings”. He further informed her that he regarded her to be the “11th inmate” to

achieve this distinction of not being regarded by him as a “human being”.

      109. BOP policy mandates that inmates can be placed temporarily in SHU

involuntarily, for the purpose of protecting the inmate from further sexual abuse.

      110. BOP policy expressly prohibits the use of SHU as a means of punishing

and/or silencing inmates at risk of or with knowledge of sexually abusive conduct

against inmates by guards. BOP policy certainly does not contemplate the use of

SHU as a means of covering up the sexual assault of inmates placed there, nor does

it contemplate the use of SHU as a means of covering up the risk posed to inmates

by guards who are known to be serial sexual abusers and/or rapists, such as

Defendant Highsmith.

      111. The placement of S.P. in SHU and the duration of that placement

violated all aspects of the foregoing policy.



                                          25
     Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 26 of 47




      112. Retaliation against victims of sexual assault and/or sexual abuse in BOP

facilities is a well-known problem and it is strictly prohibited by BOP Sexually

Abusive Behavior Prevention and Intervention Program Statement 5324.12.

      113. On February 4, 2021, the United States Attorney for the Northern

District of Florida announced the indictment of Defendant Highsmith, which was

issued on February 2, 2021.

      114. Count III of the indictment alleges that Defendant Highsmith sexually

assaulted another inmate on or about September 13, 2018, months after S.P. had

been placed in SHU for openly accusing Defendant Highsmith of sexual assault of

inmates at the facility.

  COUNT I – CLAIMS AGAINST DEFENDANT JIMMY HIGHSMITH
PURSUANT TO THE EIGHTH AMENDMENT TO THE UNITED STATES
                      CONSTITUTION

      115. S.P. re-alleges and incorporates by reference all of the preceding

allegations of this Complaint.

      116. As an inmate in the custody of the United States BOP, S.P. had a clearly

established right under the Eighth Amendment to the United States Constitution not

to be subjected to cruel and unusual punishment while incarcerated.

      117. Defendant Highsmith’s actions constitute cruel and unusual

punishment in the forms of sexual acts, abuse and battery.



                                        26
     Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 27 of 47




      118. S.P. was not sentenced to be subjected to sexual victimization. Sexual

assault is not a legitimate form of punishment. Sexual abuse, sexual assault and

battery are not forms of punishment ancillary to any term of imprisonment.

      119. Sexual abuse and sexual battery serve no legitimate penological

purpose.

      120. All of Defendant Highsmith’s acts and omissions were taken while

acting under color of law and in the scope and course of his position as a Corrections

Officer at FCI Tallahassee.

      121. Defendant Highsmith, individually, failed in his duty to provide S.P.

with constitutionally safe and secure conditions or confinement.

      122. Defendant Highsmith acted intentionally, maliciously, oppressively

and/or with gross negligence against Plaintiff’s constitutional rights.

      123. As a direct and proximate result of Defendant Highsmith’s misconduct,

S.P. was subjected to physical and emotional injury, depression, post-traumatic

stress, embarrassment, and other damages, all or some of which shall continue

indefinitely or permanently, as well as retaliation.

      124. Defendant Highsmith’s conduct was of such a quality and nature as to

warrant his liability for punitive damages, in accordance with applicable law.

      125. S.P. is also entitled to recover from Defendant Highsmith all

compensatory damages recognized by applicable law upon this cause of action.

                                          27
     Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 28 of 47




 COUNT II – CLAIMS AGAINST THE UNITED STATES OF AMERICA:
                       NEGLIGENCE

      126. S.P. re-alleges and incorporates by reference all of the preceding

allegations of this Complaint.

      127. Defendant the United States of America is responsible for the oversight

of its employees, which includes officers and staff at federal correctional institutions,

including FCI Tallahassee.

      128.    Pursuant to the Federal Tort Claims Act, the United States is liable for

damages caused by the negligent or wrongful acts of its employees acting within the

scope of their employment, under circumstances where the United States, if a private

person, would be liable in accordance with the laws of the State of West Virginia.

      129. Federal law specifically requires the BOP to “provide for the

safekeeping, care, and subsistence of all persons charged with or convicted of

offenses against the United States” and to “provide for the protection . . . of all

persons charged with or convicted of offenses against the United States.” 18 U.S.C.

§ 4042(a)(2)-(3).

      130. Defendant United States and the supervisors and employees of FCI

Tallahassee have a duty to provide inmates, being in their custody, with a safe and

secure environment, free of dangers, including the dangers of sexual harassment and

sexual assault.


                                           28
     Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 29 of 47




      131.   As a premises owner/operator, the United States has a duty to provide

inmates with a reasonably safe place, which specifically includes a place reasonably

free and safe from known or suspected sexual abusers and/or individuals who pose

a foreseeable risk of sexual abuse, sexual assault, and battery.

      132. Correctional officers and other prison officials at FCI Tallahassee have

a non-discretionary duty, pursuant to PREA, to enforce a policy of “zero-tolerance”

with respect to sexual abuse of inmates by staff.

      133. Correctional officers and other prison officials at FCI Tallahassee have

a non-discretionary duty, pursuant to PREA, to ensure that inmates who have

experienced or who have reported sexually abusive conduct by staff are not placed

in SHU as punishment for their experience or reporting of sexually abusive conduct

at the hands of another employee of the BOP.

      134. Correctional officers and other prison officials at FCI Tallahassee have

a non-discretionary duty, pursuant to PREA, to ensure that inmates who have

experienced or who have reported sexually abusive conduct by staff are not placed

in SHU as a means of concealing facts which give rise to a duty on their part to

address the problem of a serial sexual abuser of inmates who is also employed by

the BOP.

      135. Correctional officers and other prison officials at FCI Tallahassee have

a non-discretionary duty, pursuant to PREA, to ensure that inmates who have

                                          29
      Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 30 of 47




experienced or who have reported sexually abusive conduct by staff are not placed

in SHU as a means of forcing them to be silent on the subject of sexually abusive

conduct against themselves and other inmates by another staff member.

       136. Correctional officers and other prison officials at FCI Tallahassee have

a duty to protect inmates from harm caused by correctional officers and other prison

officials.

       137. Correctional officers and other prison officials at FCI Tallahassee have

a duty to disallow or sufficiently monitor and supervise one-on-one inmate/officer

interactions.

       138. Correctional officers and other prison officials at FCI Tallahassee have

a duty to house inmates in a safe and secure manner.

       139. Pursuant to 28 C.F.R. § 115.31, the BOP and FCI Tallahassee had a

non-discretionary duty to train employees on how to prevent sexual abuse and sexual

harassment, the right of inmates to be free from sexual abuse and harassment, the

dynamics of sexual abuse and harassment, the common reactions of sexual abuse

and harassment victims, and how to detect and respond to signs of threatened and

actual sexual abuse and to ensure that such training was properly followed. BOP and

FCI Tallahassee breached this duty, and such breach was a proximate cause of the

injuries and damages alleged herein.



                                         30
     Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 31 of 47




         140. BOP and FCI Tallahassee had a non-discretionary duty to train

employees and advise inmates of their right to be free from retaliation for reporting

incidents of sexual harassment and sexual abuse by corrections officers and to ensure

that such training was properly followed. Plaintiff was retaliated against, and

therefore BOP and FCI Tallahassee breached this duty, and such breach was a

proximate cause of the injuries and damages alleged herein.

         141.   Pursuant to 28 C.F.R. § 115.17, BOP and FCI Tallahassee officials

have non-discretionary duties with respect to the hiring, promotion, and periodic

review of their employees. Those non-discretionary duties include duties to consider

any incidents of sexual harassment, whether the employee has engaged in sexual

abuse, and whether the employee has been convicted or civilly adjudicated of sexual

abuse.

         142. Upon information and belief, BOP and FCI Tallahassee failed to

perform their non-discretionary duties with respect to Defendant Highsmith or failed

to appropriately responsively act if they did perform such duties.

         143. BOP supervisory officials have a duty to monitor, supervise, train, and

discipline correctional staff at FCI Tallahassee to ensure that correctional staff

properly perform their PREA-mandated duties so that inmates’ Eighth Amendment

rights are not violated.



                                          31
     Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 32 of 47




      144. Prison officials at FCI Tallahassee knew or should have known that

Defendant Highsmith should not have been permitted to have unsupervised access

to inmates, including S.P., to whom he posed an excessive and unreasonable risk.

      145. Through the conduct of Defendant Highsmith and other BOP

employees, all of the duties encompassed by this count were breached, and as a

proximate result Plaintiff sustained injuries and damages.

      146. As a direct and proximate result of these breaches of duties, S.P.

suffered personal injuries associated with and arising from sexual acts, sexual abuse

and sexual battery including, but not limited to, physical and emotional injury,

depression, post-traumatic stress, embarrassment, and other damages, all or some of

which shall continue indefinitely or permanently, as well as retaliation.

      147. S.P. is also entitled to recover from Defendant United States of America

all compensatory damages recognized by applicable law upon this cause of action.

 COUNT III – CLAIMS AGAINST THE UNITED STATES OF AMERICA
           UNDER THE FTCA: ASSAULT AND BATTERY

      148. S.P. re-alleges and incorporates by reference all of the preceding

allegations of this Complaint.

      149. The actions of Defendant Highsmith constitute assault and battery in

violation of state law.




                                         32
     Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 33 of 47




      150. Defendant Highsmith assaulted and battered S.P. through, but not

limited to, unwanted, non-consensual sexual abuse, sexual battery, and harassment.

      151. All of Defendant Highsmith’s acts and omissions were taken while

acting under color of law and in the scope and course of his position as a Corrections

Officer at FCI Tallahassee.

      152. As a result of Defendant Highsmith’s sexual assault and battery, S.P.

suffered physical and emotional injury, depression, post-traumatic stress,

embarrassment, and other damages, all or some of which shall continue indefinitely

or permanently.

      153. Under the Federal tort Claims Act, the Defendant, United States of

America, is liable to S.P. for the unlawful actions of Defendant Highsmith as he was

acting within the scope of his employment as a law enforcement officer of the United

States BOP.

      154. S.P. is also entitled to recover from Defendant United States of America

all compensatory damages recognized by applicable law upon this cause of action.

   COUNT IV: CLAIMS AGAINST NAKAMOTO, INC.: NEGLIGENCE

      155. S.P. re-alleges and incorporates by reference all of the preceding

allegations set forth herein.




                                         33
     Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 34 of 47




      156. As mandated by PREA, the BOP conducts PREA audits at each federal

prison facility once every three years. At all times relevant to this complaint, PREA

audits for all BOP facilities were conducted by Nakamoto.

      157. Upon information and belief, Nakamoto’s contract with the BOP

specified that Nakamoto would not be subject to Government supervision, except

for security related matters.

      158. The contract under which Nakamoto conducted its PREA audit at FCI

Tallahassee was transactional and it was bargained for.

      159. The primary purpose of the onsite phase of the PREA audit inspection

is to assess the day-to-day practices used by facility staff to promote sexual safety

and to prevent rape in prison. During the onsite phase of a PREA audit, auditors are

supposed to conduct a thorough examination of the entire facility, observe routine

activities, interview staff and inmates, and review and retain key documents

maintained by the facility.

      160. During the “onsite review” component of an audit, PREA compliance

auditors are required to spend a number of days (usually three) at the facility

conducting a site inspection and conducting interviews with both executive and

rank-and-file staff and inmates randomly selected by the auditor during the site visit,

or inmates previously identified by the facility as being fairly representative of a

number of inmate social categories, such as: youthful inmates, inmates with limited

                                          34
     Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 35 of 47




English language proficiency and transgender inmates. Finally, PREA audits are

supposed to involve a careful process of documentation selection and review. These

core components form the foundation of a practice-based audit methodology.

         161. Nakamoto contractors conducted audits of FCI Tallahassee in June of

2015 and in March of 2018.

         162. The PREA audits conducted by Nakamoto were materially incomplete,

as auditors failed to properly conduct required systematic reviews of documents held

by FCI Tallahassee related to sexual abuse and sexual harassment allegations over

the prior 12 months at the facility; failed to properly interview inmates and/or staff

that were involved in or witness to PREA violations by Highsmith or any other

guard.

         163. Nakamoto auditors were required, at minimum, to collect and review

all reports of sexual abuse and harassment and documentation of investigations,

including full investigative reports with findings. They were also required to collect

and review all documentation relating to referrals of allegations of sexual abuse and

sexual harassment. Further, Nakamoto auditors were required to collect and review

any grievance that alleged sexual abuse and the final decision made in respect of

such grievances.

         164. In its report related to the audit conducted at FCI Tallahassee from June

2 to June 4, 2015, Nakamoto Group’s report simply notes that “there were no

                                           35
      Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 36 of 47




criminal investigations in the last year” relating to sexually abusive conduct at the

facility.

       165. Defendant Highsmith’s sexual assault of T.D. occurred on April 30,

2014 and was the subject of both an internal and a criminal investigation.

       166. Defendant Highsmith was interviewed by investigators Claire Foley of

the Office of Inspector General and by Federal Bureau of Prisons Special

Investigative Agent Dan Clark on May 6, 2014. The investigation of Defendant

Highsmith carried on from May 2014 and a final report was not tendered until

October 2015.

       167. Despite the active and on-going investigation into the sexual assault of

T.D. by Defendant Highsmith, which had gone on from early May, 2014 to October,

2015, Nakamoto auditors failed to collect and review the voluminous documentation

of the investigation into the sexual assault of T.D. by Defendant Highsmith and

simply concluded there were “no criminal investigations in the last year”.

       168. Nakamoto was required to review internal records at FCI Tallahassee

as part of the auditing process, including but not limited to background check

records; supervisory rounds logs; risk screening and intake processing records;

medical files; and investigative files—including a review of a representative sample

of each type of record. These records would have played a crucial role in providing



                                         36
     Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 37 of 47




an accurate impression of what FCI Tallahassee was doing to protect inmates such

as the plaintiff from sexual assault and sexual harassment.

      169. Nakamoto failed to review appropriate records and/or failed to note

discrepancies, irregularities or problems that should have been readily apparent from

the well-known activities of Highsmith and/or other staff at FCI Tallahassee.

      170. PREA audits are organized into five stages that unfold chronologically:

the pre-onsite audit, onsite audit, evidence review and interim report stage, and,

finally, the corrective action and final report stages.

      171. The pre-onsite audit stage essentially consists in the gathering of

information for which the actual presence of the auditor at the facility is not required.

For example, auditors are required to attempt to communicate with community based

or victim advocates who may have insight into relevant conditions in the facility

prior to the “onsite” portion of the audit.

      172. The “onsite” portion of the PREA audit process consists of “site review,

interviews, and documentation selection and review”. This means, respectively, that

auditors are expected to visit the facility to conduct in-person inspections to

determine compliance with mandated standards, they must conduct several

confidential interviews with staff and a representative sample of a minimum number

of inmates, and they must collect and review various forms of documentation that

the facility has in its custody. All of these steps within the “onsite” review

                                              37
      Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 38 of 47




component are ostensibly aimed at the collection and analysis of data that allow the

auditor to determine compliance with standards that are designed to detect, address,

and mitigate the risk of sexually abusive conduct faced by inmates in the custody of

the facility.

       173. Prior to the “onsite” component of its audit of FCI Tallahassee,

Nakamoto failed to conduct a broad internet search on the facility in advance of the

audit to determine if there was any relevant information that might have shed light

on the culture and history of the facility such as recent budgetary or staffing changes,

legal action against the facility, press clippings, and other information that might

inform the audit. If Nakamoto did conduct such a search, it ignored the readily

available information regarding longstanding and ongoing sexual misconduct by

guards against inmates at FCI Tallahassee.

       174. As part of the “onsite” auditing function, Nakamoto auditors were

entitled to unfettered access to a variety of sensitive and confidential documentation

and information. The information contained in these documents is crucial to forming

an accurate impression of what FCI Tallahassee guards and administrators were

actually doing to protect inmates such as S.P. from sexual abuse and retaliation.

       175. Nakamoto       auditors   either   performed    cursory    or   insufficient

examinations of these sensitive and confidential documents, or it failed to collect



                                          38
     Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 39 of 47




and analyze them in a manner sufficient to the task of shedding light on the risk of

sexual violence faced by inmates such as S.P. at FCI Tallahassee.

      176. PREA Standard 115.401(h) states, that all auditors “[shall] have access

to, and shall observe, all areas of the audited facilities.” To meet the requirements in

this Standard, the site review portion of the onsite audit must include a thorough

examination of the entire facility.

      177. Nakamoto was required to be critically engaged in the assessment of

crucial facility functions including but not limited to: intake and risk screening;

activity in the housing units; bathroom and shower procedures; staffing ratios;

cameras and surveillance technology deployment and use; access to reporting

entities; and supervision practices at FCI Tallahassee.

      178. Nakamoto consistently failed to conduct thorough examinations of

critical facility functions FCI Tallahassee.

      179. Nakamoto failed to use reasonable care and diligence to hire, train, and

supervise its audit-performing staff to obtain sufficient facts to support all

statements, conclusions, and findings of the audits performed at FCI Tallahassee.

      180. The negligent and/or improper performance of inspections by

Nakamoto at FCI Tallahassee failed to identify and address obvious signs of endemic

sexual abuse at the facility and was a proximate cause of the injuries and damages

suffered by S.P. and other female inmates at FCI Tallahassee.

                                          39
      Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 40 of 47




       181. As a direct and proximate result of Nakamoto’s negligence and

misconduct, S.P. was intentionally subjected to physical and emotional injury,

depression, post-traumatic stress, embarrassment, and other damages, all or some of

which shall continue indefinitely or permanently, as well as retaliation.

       182. S.P. is also entitled to recover from Defendant Nakamoto all

compensatory damages recognized by applicable law upon this cause of action.

   COUNT V – NAKAMOTO GROUP, INC.: BREACH OF CONTRACT

       183. S.P. re-alleges and incorporates by reference all for the preceding

allegations set forth herein.

       184. Nakamoto Group, Inc. (Nakamoto) operates as an SBA 8(a) Program

minority business which, because of such status, receives certain preferential

benefits in applying for and receiving bids on Federal government contacts.

       185. After having received federal contracts in unrelated areas of

government work, Nakamoto entered into various contracts with the United States

to perform audits of detention facilities (e.g., ICE facilities on the U.S. border) and

to perform Prison Rape Elimination Act (PREA) audits of Bureau of Prisons

correctional facilities.

       186. Upon information and belief, the contract regarding PREA audits for

BOP correctional facilities, including FCI Tallahassee, have paid Nakamoto by way

of consideration large sums of money measured in the millions of dollars.
                                          40
        Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 41 of 47




         187. The purpose of the Prison Rape Elimination Act (PREA) auditing

function, which Nakamoto contracted to provide for the BOP, was to ensure

compliance with the mandates of the Prison Rape Elimination Act (PREA) 34 U.S.

Code § 30301.

         188. The stated purpose of PREA, among other things, is to “increase the

accountability of prison officials who fail to detect, prevent, reduce, and punish

prison rape” and to “protect the Eighth Amendment rights of Federal, State, and local

prisoners.”3

         189. Pursuant to its contract with the BOP, Nakamoto was required to

conduct audits relevant to each facility’s PREA-mandated obligation to address and

mitigate the risk faced by S.P., and all inmates similarly confined in the care and

custody of the BOP, with respect to sexual abuse and sexual harassment.

         190. Nakamoto was contractually required to perform its compliance

investigations diligently, and in such a way as to uncover information relevant to

each facility’s obligation to keep all inmates, including S.P., safe from sexual abuse

and sexual harassment.

         191. Plaintiff S.P., at all times relevant to the allegations herein, was a

federal inmate in the care and custody of the BOP at FCI Tallahassee and thus an

individual to be protected from sexual assault, sexually abusive conduct, and


3
    (Prison Rape Elimination Act, P.L. 108-79 § 3).
                                             41
      Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 42 of 47




retaliation for reporting the sexual assaults and/or the sexually abusive conduct of

BOP employees.

       192. The manifest intent and/or purpose of the contract between Nakamoto

and the BOP was to ensure compliance with the mandates of PREA for the benefit

of inmates such as S.P.

       193. Nakamoto breached the contract by failing to conduct appropriate and

meaningful PREA audits and to make appropriate and meaningful reports which

would have provided the BOP with the necessary information to take corrective

action to fulfill the purpose of PREA.

       194. Nakamoto was contractually obliged to conduct inspections and to be

diligent in its efforts to uncover information relevant to the risk of sexual assault,

sexual abuse, and retaliation and to the facility’s obligation to keep plaintiff, and all

inmates similarly situated to her, safe from sexual assault, sexual abuse and

retaliation.

       195. Instead, Nakamoto’s inspection practices were inconsistent, were not

sufficiently thorough, and failed to fully examine actual conditions at FCI

Tallahassee with a view to identifying deficiencies.

       196. For example, from March 20-22nd, 2018 a single Nakamoto employee

was tasked with conducting the entire “onsite” portion of the PREA audit at FCI

Tallahassee.

                                           42
     Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 43 of 47




      197. PREA Standard 115.401(h) provides that the auditor “shall have access

to, and shall observe, all areas of the audited facilities.” This “onsite” component

consists of a facility inspection which required the auditor engage in an active

process of inquiry to determine whether, and to what extent, the day-to-day practices

at FCI Tallahassee demonstrated genuine compliance with PREA-mandated

standards.

      198. At a minimum, the “site review” component of the “onsite” portion of

the audit would have required the Nakamoto auditor to inspect 8 Multiple

Occupancy Cell housing units, 4 Open Bay Dorm housing units, 41 Special Housing

Unit (SHU) cells, and intake processing areas in both the FCI building and in the

Federal Detention Center (FDC) building. The Nakamoto auditor was also required

to inspect the Health Services Departments at both the FDC and the FCI, as well as

the Education, Visiting, Recreation, Food Service, and facility support and

programming areas at both the FCI and FDC.

      199. More than simply a take a passive tour, the Nakamoto auditor was

required, in each of these buildings, to engage critically with facility functions such

as intake and risk screening; cross-gender announcement; grievance processes; use

of signage throughout the facility; activity in the housing units; bathroom and shower

procedures; staffing rations; cameras and surveillance technology deployment and



                                          43
     Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 44 of 47




use; working condition of telephones, kiosks, ad other devices; access to reporting

entities; and supervision practices.

      200. The single Nakamoto auditor tasked with conducting the PREA audit

of FCI Tallahassee reported that he had conducted an inspection of the facility’s 32

buildings in the form of a “comprehensive tour” on a single day - his first day at the

facility – and not before he had conducted a briefing meeting with facility

administrators earlier that same day.

      201. The “interview” component of the “onsite” review required as part of

each PREA audit was conducted by Nakamoto’s auditor on the second day of his

compliance inspection. According to the final report, this lone auditor conducted

interviews with no fewer than 28 members of staff sampled from those available at

both the FCI and FDC components of the facility on a single day. In addition to the

members of staff, the same auditor also purported to have conducted interviews with

no fewer than 31 inmates selected for interviews from both the FCI and FDC

components of the facility.

      202. This auditor was not only required to conduct interviews with a

representative sample drawn from the available pool of staff and inmates at FCI

Tallahassee, but he was also expected to conduct these interviews with sufficient

depth to elicit information concerning the practices at the facility as they related to

specific PREA standards and more general attitudes amongst inmates and staff with

                                          44
     Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 45 of 47




respect to sexual abuse and sexual harassment at FCI Tallahassee. He was further

required to take and maintain interview notes to guide his evaluation of interview

content and its relationship to other evidence when making compliance

determinations for each provision of every PREA standard audited.

      203. Nakamoto failed to devote sufficient resources to the task of thoroughly

conducting each of the requisite components of each facility audit and did not deploy

the number of staff that would have been required to conduct a thorough audit of

FCI Tallahassee.

      204. On information and belief, Nakamoto’s auditors took “tours” in lieu of

conducting bona fide facility inspections, they relied on answers from facility staff

and merely reviewed the written policies and procedures to substantiate those

answers, they did not meet their contractual obligation to observe and evaluate

facility conditions, nor did they critically analyze the internal documents that they

had unfettered access to. These breaches had real consequences for the safety and

wellbeing of inmates housed at FCI Tallahassee, including S.P.

      205. As a direct and proximate result of Nakamoto’s the breach of the

contract between Nakamoto and the BOP, S.P. was injured and damaged as alleged

above.

206. S.P. is also entitled to recover from Defendant Nakamoto all compensatory

damages recognized by applicable law upon this cause of action.

                                         45
       Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 46 of 47




                              PRAYER FOR RELIEF

       WHEREFORE, Plaintiff requests that this Honorable Court grant her the

following relief:

       1. Compensatory damages as to all Counts;

       2. Punitive damages as to Count I against Defendant Highsmith, and not as to

any Count against the United States of America or Nakamoto;

       3. Reasonable attorneys’ fees and costs in accordance with applicable law;

and,

       4. Such other further relief as this Court in its discretion deems just.

                                  JURY DEMAND

       Plaintiff hereby demands a jury trial on any and all Counts so triable under

applicable law.

                                         S.P.,
                                         Plaintiff

                                         /s/Ryan J. Andrews
                                         Steven R. Andrews (FBN 0263680)
                                         Ryan J. Andrews, Esq. (FBN 104703)
                                         Andrews Law Firm
                                         822 N Monroe Street
                                         Tallahassee, FL 32303
                                         P: (850) 681-6416
                                         ryan@andrewslaw.com
                                         service@andrewslaw.com




                                           46
Case 4:21-cv-00338-AW-MAF Document 1 Filed 08/13/21 Page 47 of 47




                             /s/Jay T. McCamic
                             Jay T.       McCamic, Esq. (WVSB#2386)
                             McCamic Law Firm, PLLC
                             80 12th Street, Ste. 305
                             P.O. Box 151
                             Wheeling, WV 26003
                             Telephone: 304-238-9460
                             Fax: 304-830-5324
                             jay@mccamic.com

                             s/L. Dante diTrapano
                             L. Danté diTrapano, Esq. (WVSB#6778)
                             Calwell Luce diTrapano, PLLC
                             500 Randolph Street
                             Charleston, WV 25302
                             Telephone: 304-343-4323
                             Fax: 304-344-3684
                             dditrapano@cldlaw.com
                             Benjamin Adams, Esq. (WVSB#11454)
                             badams@cldlaw.com
                             Alex McLaughlin, Esq. (WVSB#9696)
                             amclaughlin@cldlaw.com

                             s/Anthony I. Werner
                             Anthony I. Werner, Esq. (WVSB#5203)
                             John & Werner Law Offices, PLLC
                             Board of Trade Building, STE 200
                             80 - 12th Street
                             Wheeling, WV 26003
                             Telephone: 304-233-4380
                             Fax: 304-233-4387
                             awerner@johnwernerlaw.com




                               47
